 Case 4:21-cv-00595-O Document 198 Filed 05/02/22                   Page 1 of 2 PageID 3493



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 SID MILLER, et al.,                             §
                                                 §
        Plaintiffs,                              §
                                                 §
 v.                                              §         Civil Action No. 4:21-cv-0595-O
                                                 §
 TOM VILSACK, in his official capacity           §
 as Secretary of Agriculture,                    §
                                                 §
        Defendant.                               §

                                             ORDER

       Before the Court are the National Black Farmers Association and the Association of

American Indian Farmers’ Conditional Motion for Leave to Intervene as Defendants (ECF No.

172), filed March 18, 2022; Plaintiffs’ Response (ECF No. 192), filed April 15; the Government’s

Response (ECF No. 191, filed April 15; and the NBFA’s Reply (ECF No. 197), filed April 28.

       Rule 24 of the Federal Rules of Civil Procedure governs intervention. Even if a putative

intervenor does not satisfy the requirements for intervention as of right, it can move for permissive

intervention under Rule 24(b). Permissive intervention “is wholly discretionary with the [district]

court . . . even though there is a common question of law or fact, or the requirements of Rule 24(b)

are otherwise satisfied.” Kneeland v. NCAA, 806 F.2d 1285, 1289 (5th Cir. 1987). Permissive

intervention is appropriate when: “(1) timely application is made by the intervenor, (2) the

intervenor’s claim or defense and the main action have a question of law or fact in common, and

(3) intervention will not unduly delay or prejudice the adjudication of the rights of the original

parties.” Frazier v. Wireline Solutions, LLC, No. C-10-3, 2010 WL 2352058, at *4 (S.D. Tex. June

10, 2010).
    Case 4:21-cv-00595-O Document 198 Filed 05/02/22                 Page 2 of 2 PageID 3494



          The Court finds that the intervenors’ motion is timely,1 the intervenors’ claims or defenses

and the main action have a question of law or fact in common, and intervention will not unduly

delay or prejudice the adjudication. Courts may impose reasonable conditions on intervenors. See

Franciscan All., Inc. v. Azar, 414 F. Supp. 3d 928, 940 (N.D. Tex. 2019). The intervenors “do not

seek discovery, nor to address the merits at this stage.” Mot. 14, ECF No. 172. Accordingly, the

Court GRANTS the motion to intervene on the conditions that the intervenors (1) will not be

entitled to discovery in this case; and (2) will not disrupt the Court’s scheduling order (ECF No.

186). The Court invites the intervenors to submit summary judgment briefing in accordance with

the Court’s scheduling order, should they wish to do so. The Court thus DIRECTS the Clerk of

Court to add the National Black Farmers Association and the Association of American Indian

Farmers as parties.

          SO ORDERED on this 2nd day of May, 2022.



                                                       _____________________________________
                                                       Reed O’Connor
                                                       UNITED STATES DISTRICT JUDGE




1
    See Mot. to Intervene, ECF No. 24.


                                                   2
